UNITED STATES DISTRICT COURT
                                                                      USDC SDNY
SOUTHERN DISTRICT OF NEW YORK
                                                                      DOCUMENT
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  A.H. by her next friend E.H, R.D. by her next friend                DATE FILED: 
  M.D., J.D. by his next friend D.D., L.P. by her next
  friend C.P., J.C.M., H.L., A.B., and J.S., on behalf of
  themselves and all others similarly situated, and                Case No. 1:22-cv-05045 (MKV)
  DISABILITY RIGHTS NEW YORK,

                                  Plaintiffs,

                  - against -
                                                                   QUALIFIED PROTECTIVE
  NEW YORK STATE DEPARTMENT OF HEALTH;                                    ORDER
  MARY BASSETT, in her official capacity as
  Commissioner of the New York State Department of
  Health; NEW YORK STATE OFFICE FOR PEOPLE
  WITH DEVELOPMENTAL DISABILITIES; and
  KERRI NEIFELD, in her official capacity as
  Commissioner of the New York State Office for
  People with Developmental Disabilities,

                                      Defendants.


       The parties to this action have met and conferred concerning a protocol for the

designation and treatment of confidential information.

       The parties hereby stipulate and agree that, to expedite and streamline discovery in this

complex litigation to the extent practicable by avoiding unnecessary and costly motion practice

and other disputes over the confidential status and proper handling of the large volume of

documents and information that the parties expect to exchange in the course of this action, while

protecting the privacy and confidentiality rights and interests of all parties and non-parties hereto,

and acknowledging that Defendants have a legal obligation to protect the private and confidential

information contained in broad categories of information subject to discovery in this action, the

parties shall comply with the following terms.


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       It is, therefore, ORDERED that the following provisions shall govern the disclosure of

and access to confidential information, as well as the treatment and maintenance of confidential

information produced or otherwise shared in this action:

       (a)     The following documents and information shall be deemed “Confidential

Information”: All information supplied in any form concerning (i) the individual named

Plaintiffs, or (ii) other individuals served or eligible to be served by The Office for People with

Developmental Disabilities (“OPWDD”), The New York State Department of Health (“DOH”),

or any other state agency, or any agency, contractor or service provider who coordinates services

with OPWDD, DOH, or other state agency, or (iii) family members, foster parents and siblings,

next friends, or guardians of any such individuals, or (iv) any other natural person or legal entity

that has a right to privacy or confidentiality, or an obligation to treat as confidential certain

categories of information within its possession, as codified in federal, state or local laws

including but not limited to the Health Insurance Portability and Accountability Act (“HIPAA”)

of 1996, its implementing regulations (45 C.F.R. § 164.512); the New York Mental Hygiene

Law; the Developmental Disabilities Assistance and Bill of Rights Act, (42 U.S.C. §15043 et

seq.), Protection and Advocacy for Individuals with Mental Illness Act (42 U.S.C. § 10805 et

seq.), Protection and Advocacy of Individual Rights Act, 29 U.S.C. § 794e et seq. (collectively

known as the “P&A Acts”); or as otherwise established by statute, regulation or common law.

       (b)     In addition, the following documents and information shall be deemed

Confidential Information, provided that such documents are not known by counsel for the

producing party to be publicly available at the time that the production is made:

          i.   Sensitive Personal Data, such as personal identifiers, financial information

               (including any information utilized to determine Medicaid eligibility), tax



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               records, and employer or employee personnel records of the individuals listed in

               paragraph (a).

         ii.   Medical and Legal Records, including medical files and reports.

        iii.   Non-public criminal and juvenile justice history.

         iv.   Records, reports and other documents pertaining to allegations and investigations

               into reportable incidents at a facility covered by Section 33.25 of the New York

               Mental Hygiene Law.

         v.    Other information that a party or non-party is obligated by federal or state laws

               or regulations to protect as private or confidential.

         vi.   Any category of information given confidential status by the Court.

       (c)     If any party or non-party with an interest in the information to be produced

believes that a document or information not described in the above paragraphs should

nevertheless be treated as Confidential Information, it may meet and confer with counsel to reach

agreement to mark the document or information as Confidential Information or, if agreement

cannot be reached, it may make application to the Court. Such application shall only be granted

for good cause shown.

       (d)     An attorney for the producing party may designate documents, parts thereof, or

other information as Confidential Information by stamping or otherwise marking the word

“CONFIDENTIAL” on each page of a confidential document or by identifying other

Confidential Information in a writing provided to the recipient of the information, either

contemporaneously with the disclosure or thereafter, and by complying with the confidentiality

marking protocol set forth in the parties’ ESI protocol in this action.




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       (e)     The failure to designate Confidential Information as “CONFIDENTIAL” or to

mark documents containing Confidential Information as “CONFIDENTIAL” shall not, standing

alone, constitute a waiver of the confidentiality of the document or information, so long as the

producing party notifies all relevant parties in writing regarding the inadvertent failure to

designate Confidential Information as “CONFIDENTIAL” within 14 days from discovering the

oversight.   If a party designates a document as “CONFIDENTIAL” after it was initially

produced, the receiving party, on notification of the designation, must make a reasonable effort

to assure that the document is treated in accordance with the provisions of this Order. No party

to this Order shall be found to have violated this Order for failing to maintain the confidentiality

of material during a time when that material has not been designated as “CONFIDENTIAL,”

even where the failure to so designate was inadvertent and where the material is subsequently

designated as “CONFIDENTIAL.”

       (f)     If information designated as confidential is provided in an answer to an

interrogatory, the attorney may separately append the information to the main body of the

interrogatory responses, mark such appendices “CONFIDENTIAL,” and incorporate by

reference the appended material into the responses.

       (g)     Any party may object to the designation of information as “CONFIDENTIAL”

or to the failure to designate Confidential Information as “CONFIDENTIAL” by serving written

notice of an objection to the producing party. The party objecting to the designation or lack

thereof shall make a good faith effort to do so within sixty (60) days of receiving the subject

information. The parties shall confer in good faith in an attempt to resolve any such dispute. In

conferring, the objecting party must explain the basis for its belief that the confidentiality

designation was not proper or was improperly excluded and must give the producing party an



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opportunity to review the subject material, to reconsider the designation or lack thereof, and, if

no change in designation is offered, to explain the basis for the designation or lack thereof. If

the parties are unable to resolve the dispute without court intervention within 30 days of the

objecting party providing written notice, they shall write to the Court by electronically filing a

single letter, jointly composed, not exceeding three (3) pages in length, exclusive of the

attachments. The producing party will bear the burden of proving the appropriateness of

designating the information as “CONFIDENTIAL” or of not designating information as

“CONFIDENTIAL.” The party challenging a “CONFIDENTIAL” designation or lack thereof

shall treat the document as confidential pending the Court’s order regarding the designation.

       (h)     At the time of a deposition, or after receipt of the deposition transcript, a party

may designate as confidential specific portions of the transcript which contain confidential

matters under the standards set forth in paragraphs (a) and (b) above. At the deposition, a party

may designate the transcript or portions of it as confidential by making a statement on the record

to that effect. After the deposition—no later than the fourteenth day after the transcript is

delivered, and in no event later than sixty (60) days after the testimony is given—a party may

designate the transcript or portions of it as “CONFIDENTIAL” by serving a Notice of

Designation to that effect upon all counsel by email communication. Thereafter, only those

portions identified in the Notice of Designation shall be protected by the terms of this Order. No

objection shall be interposed at deposition that an answer would elicit confidential information.

       (i)     Deposition testimony, the information conveyed in that testimony, exhibits used

or referenced in the deposition, and transcripts recording such testimony and information shall

be treated as strictly confidential from the time that the testimony is given until 10 days after the

deposition transcript is received by each party. After that date, any portions of a transcript



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designated confidential as set forth in the preceding paragraph, and the testimony, exhibits and

information provided in them, shall remain confidential and be handled in accordance with this

Order. The confidential portion of the transcript and any exhibits referenced solely therein shall

be bound in a separate volume and marked “CONFIDENTIAL” by the reporter.

       (j)     Documents or information designated “CONFIDENTIAL” or otherwise

containing Confidential Information shall not be shown or made available to anyone except: the

named parties to this action, their counsel, their counsel’s legal, technical, and copying staff,

experts, actual or proposed witnesses, court reporters, court personnel, and other persons

required to review the documents for the prosecution or defense of this lawsuit. Each person to

whom confidential documents or information are made available shall first be shown a copy of

this Order and shall further be advised of the obligation to honor the confidentiality of the

information and to strictly comply with the terms of this Order.

       (k)     Any individual other than the Court and its personnel, the parties, their counsel,

their counsel’s legal, technical, and copying staff, and court reporters to whom Confidential

Information is disclosed shall date and execute an Acknowledgment in the form attached hereto

as Exhibit A and shall agree to be bound by this Order before that person is given access to any

Confidential Information. Counsel for the party disclosing the Confidential Information to the

person(s) executing the Acknowledgement(s) shall retain the dated and executed

Acknowledgments, and that counsel shall maintain a list of all persons given access to any

Confidential Information from this action and the date when that party or counsel first provided

access to the Confidential Information. The executed Acknowledgement(s) and the list required

by this provision shall be subject to inspection by the Court, in the event of any actual or alleged




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violation of this Order, and shall be subject to inspection by the producing party with the Court’s

approval or at the conclusion of the litigation.

       (l)     The parties agree that any Confidential Information produced, shared or

otherwise disclosed in this litigation may be used or further disclosed (as limited by this Order)

solely for the purpose of the prosecution or defense of this action.

       (m)     Review of any privileged, protected, immune, or confidential document or

information by any party, counsel, expert, consultant, or other person after that information is

disclosed in this litigation shall not constitute a waiver of the privilege, protection, immunity, or

confidentiality of the document or information.

       (n)     The inadvertent, unintentional, or in camera disclosure of Confidential

Information shall not be deemed a waiver, in whole or in part, of any party’s claim of

confidentiality. If at any time prior to trial, a producing party realizes that some portion(s) of the

documents or information that the party produced or otherwise disclosed should be designated

as “CONFIDENTIAL,” the party may so designate by apprising all parties in writing, and the

documents or information shall thereafter be treated as confidential under this Order.

       (o)      In the event that a person inadvertently discloses Confidential Information to a

person not authorized to receive such disclosure under the provisions of this Order, or in a

pleading, filing, hearing, trial, or other proceeding in this action, the party responsible for having

made such disclosure shall immediately (i) notify counsel for the party who produced the

information that it was inadvertently disclosed (identifying it by Bates range), to whom and when

it was disclosed, and (ii) attempt to reach agreement with counsel for the producing party on

appropriate steps to take in response to the disclosure; and (iii) procure the return of all

Confidential Information from the person to whom it was made available if the producing party



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requests that action or, (iv) if on file with the Court, immediately move to withdraw the

Confidential Information and seek leave of the Court to re-file under seal, or move to have the

Confidential Information sealed, or treat the information in accordance with any other agreement

reached with the party who produced the information.

       (p)     In the event any document containing Confidential Information that is subject to

this Order must be filed with the Court prior to trial, it shall be provisionally filed under seal

with the filing party’s motion for leave to file under seal. A party seeking to file a document

under seal must comply with the Court’s rules and electronic docketing procedures for filing

such motions. Documents which identify any individual in paragraph (a) hereto only by

pseudonyms shall not be subject to sealing on that basis and shall be filed publicly unless other

Confidential information is contained in the document. Nothing in this stipulated Order shall

constrain the Court’s ability to restrict or permit public access to the documents filed on the

docket or alter the standards under which public access to documents is determined.

       (q)     Nothing in this Order shall limit a party’s ability to make public compilations,

summaries, analyses, and statistics derived from information designated as “CONFIDENTIAL,”

provided the underlying Confidential Information is not disclosed to any person or entity not

expressly authorized pursuant to this Order.

       (r)     Should any party bound by this Order receive a subpoena, civil investigative

demand, or other legal process from a third party seeking or requiring disclosure of Confidential

Information from this action, that party shall provide written notice of such request to the other

parties no later than seven (7) days from the date the request is received.

       (s)     Within sixty (60) days after the conclusion of the litigation (including resolution

of all appellate proceedings), all confidential documents and information (including all copies



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Dated: ____, New York                    MENTAL HYGIENE LEGAL SERVICE
       March __, 2023                    FIRST JUDICIAL DEPARTMENT
                                         Counsel for Plaintiffs

                                         By:
                                               Sadie Z. Ishee
                                               Leonard D. Simmons


Dated: ______, New York                  MENTAL HYGIENE LEGAL SERVICE
       March __, 2023                    THIRD JUDICIAL DEPARTMENT
                                         Counsel for Plaintiffs

                                         By:
                                               Sheila E. Shea

Dated: New York, NY                      KASOWITZ BENSON TORRES LLP
             31 2023
       March __,                         Counsel for Plaintiffs

                                         By:
                                               David J. Abrams
                                               David E. Ross
                                               Stephen P. Thomasch
                                               Andrew W. Breland



Dated: New York, New York                LETITIA JAMES
       March __, 2023                    Attorney General of the State of
                                         New York
                                         Counsel for Defendants

                                         By:
                                               Erin Kandel
                                               Celina Rogers
                                               Assistant Attorneys General

SO ORDERED:


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_________________________      "QSJM 

MARY KAY VYSKOCIL
              VYS
               YSKOCIL
               YS
United States District Judge


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                                           EXHIBIT A

              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       I have read the Qualified Protective Order issued by the United States District Court for

the Southern District of New York in A.H., et al. v. DOH, et al., 22-CV-05045 (MKV) on [DATE

ISSUED]. I understand the terms of the Order, I agree to be fully bound by the terms of the

Order, and I hereby submit to the jurisdiction of the United States District Court for the Southern

District of New York for purposes of enforcing the Order. I understand that the terms of the

Order obligate me to use Confidential Information, including documents and information

designated as confidential in this action, solely for purposes of this litigation and not to disclose

any such documents or information to any other person or entity. I understand that violation of

the Order is a serious offense that may result in penalties for contempt of court.



By: _____________________________________                              Dated:________________

Printed Name: _____________________________




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